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                                        2            Pursuant to Civil L.R. 5-1(i)(3), I, Michael D. Jay, attest that I obtained the concurrences of

                                        3    David Boies, Joseph M. Fuisz, Richard C. Fuisz, and Fuisz Pharma LLC to file this document on

                                        4    their behalf.
                                        5

                                        6    Dated: March 17, 2014                         BOIES, SCHILLER & FLEXNER LLP

                                        7                                                  By: __/s/ Michael D. Jay
                                                                                              Michael D. Jay
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                                                                                           Attorneys for Plaintiffs
                                        12                                                 Theranos, Inc. and Elizabeth Holmes
&




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                  M O N I C A ,
S C H I L L E R




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